 8:19-cv-00457-RFR-CRZ Doc # 100 Filed: 12/22/20 Page 1 of 4 - Page ID # 2910




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA
EMPIRICAL FOODS, INC.

                        Plaintiff and Counter-
                        Defendant,
                                                                  CASE NO. 8:19-CV-00457
        vs.


PRIMUS BUILDERS, INC.,

                        Defendant,
                        Counterclaimant, and
                        Third-Party Plaintiff,

        vs.

SWISSLOG LOGISTICS, INC.,

                        Third-Party Defendant.



                                              ORDER

       Pursuant to the Court’s Order dated December 8, 2020 [DE #93], which ordered the parties

to jointly submit a proposed order outlining the discovery necessary for informed settlement

discussions, the deadlines for providing that information, and the name of the selected neutral for

participation in alternative dispute resolution, it is hereby further ordered:

       1.      Defendant Primus Builders, Inc. (“Primus”) and Third-Party Defendant Swisslog

Logistics, Inc. (“Swisslog”) shall produce to Plaintiff empirical foods, inc. (“empirical”), and to

each other, the following documents:

               a.      Any and all insurance policies that may apply to this matter.




14080629 v1
8:19-cv-00457-RFR-CRZ Doc # 100 Filed: 12/22/20 Page 2 of 4 - Page ID # 2911




            b.       Pursuant to FRE 408, Swisslog shall furnish a summary of a qualitative

                     analysis of the January and February inspections, if any, for purposes of the

                     mediation only.

            c.       Non-privileged internal communications and external communications

                     between Primus and Swisslog relating to the project, to or from the

                     following custodians, between January 1, 2017 through October 23, 2019.


           Primus Custodians                                  Swisslog Custodians

1. Delmar Ferguson                               1. David Cederholm

2. Erik Gunderson                                2. Francis Said

3. Randy Jennings                                3. Don Potter

4. Tony Dembickie                                4. Markus Schmidt



     2.     empirical shall produce to Primus and Swisslog:

            a.       empirical’s contract with Westfalia for repair/replacement of the existing

                     ASRS System.

            b.       empirical’s consulting contract with Sikich LLP for services relating to iFix,

                     Microsoft Dynamics and the ASRS System.

            c.       empirical’s schedule with Westfalia for repair/replacement of the existing

                     ASRS System.

            d.       Non-privileged internal communications, and external communications

                     between empirical and Westfalia and Sikich, relating to the project,

                     including the design, installation, commissioning, testing and operating

                     performance of the existing ASRS System and related iFix and Microsoft

                                              2
                                         14080629 v1
 8:19-cv-00457-RFR-CRZ Doc # 100 Filed: 12/22/20 Page 3 of 4 - Page ID # 2912




                      Dynamics ERP systems, as well as the need, cost, scope, plans, and schedule

                      to modify/repair/replace the foregoing systems as they relate to the ASRS,

                      to or from the following custodians, between January 1, 2017 and February

                      13, 2020 (the date of the Westfalia contract), except that any such

                      communications reflecting damages shall be produced through December

                      14, 2020.



                                     Empirical Custodians

                    1. David Berghult

                    2. Nick Roth

                    3. Spencer Frankl

                    4. David Layhee



               e.     Pursuant to FRE 408, by January 6, 2021, empirical shall furnish to the

                      parties and mediators a statement of damages empirical seeks to recover

                      divided into general categories.

       3.      The parties shall begin producing their respective documents on or before

December 31, 2020. The parties shall continue producing documents on a rolling basis, with

subsequent productions to be made on January 7, 14, and 20, 2021. The parties shall use their best

efforts to produce the documents according to the priority set forth above (#1 through #4), with

the documents belonging to the higher priority custodians to be produced first. If the documents

belonging to the four designated custodians are too voluminous to reasonably review and produce




                                               3
                                          14080629 v1
 8:19-cv-00457-RFR-CRZ Doc # 100 Filed: 12/22/20 Page 4 of 4 - Page ID # 2913




prior to the mediation, the parties shall meet and confer in good faith and shall reduce the scope of

the search. The parties shall complete their respective productions on or before January 20, 2021.

       4.      The parties are producing documents on an expedited basis for the purposes of

mediation and agree that any inadvertently produced work product or attorney-client privileged

documents will be returned upon request and deleted from all electronic storage locations, subject

to a motion regarding the claimed privilege. Any applicable privilege will not be waived on

account of the production of the document. All documents will be deemed Confidential pursuant

to the court’s protective until 60 days after the mediation concludes, at which point parties must

designate individual documents as Confidential to retain that status. Summaries, reports, position

statements and other documents specifically prepared for mediation shall be subject to the

mediation privilege, as applicable in this jurisdiction, and the requirements of FRE 408.

       5.      The parties have agreed that the neutrals for the virtual mediation shall be Ty Laurie

and Judith Ittig. The virtual mediation is scheduled for January 25-26, 2021. However, the neutrals

may confer with the parties’ counsel and/or experts, jointly or separately and at the neutrals’

discretion, prior to the mediation date. Prior to the mediation date, the neutrals shall be granted

access to the case docket on Pacer on a temporary basis until the completion of mediation. The

neutrals may be furnished, upon their request or upon the consent of all parties, additional

documents providing detail on the issues at mediation. The parties’ experts shall be available

during the mediation.



December 22, 2020                             ENTERED:



                                              _________________________________
                                              Magistrate Judge Cheryl R. Zwart

                                                4
                                           14080629 v1
